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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NORTH DAKOTA


State of Kansas, et al.

               Plaintiffs,

       v.                                          Case No. 1:24-cv-150

United States of America and the
Centers for Medicare & Medicaid Services,

               Defendants.


                                Clerk’s Minutes of Proceedings

The Honorable Daniel M. Traynor                    Date:    October 15, 2024
Bismarck, North Dakota                             Time      1:35 pm
Court Reporter: Ronda Colby                        Recess: 3:05 pm
Proceeding: Motion Hearing re:                     Clerk:    Roxanne Muffenbier
            Plaintiffs’ Motion for Stay (Doc. 63)
            and
            Plaintiffs’ Motion Preliminary Injunction (Doc. 35)

Appearances:
      Attorneys for Plaintiffs
      Kris Kobach, Attorney General (State of Kansas)
      Abhishek Kambli, Deputy Attorney General (State of Kansas)
      Drew Wrigley, Attorney General (State of North Dakota)
      Marty Jackley, Attorney General (State of South Dakota)
      David Bryant, Jr., Senior Special Counsel (State of Texas)

       Attorney for Defendants
       Christopher Eiswerth, AUSA

Counsel note appearances.
Kris Kobach presents oral argument on behalf of Plaintiffs.
Drew Wrigley addresses the Court.
Christopher Eiswerth presents oral argument on behalf of Defendants
Kris Kobach presents rebuttal oral argument on behalf of Plaintiffs.
Court takes matter under advisement.
Court in recess.
